Case 1:21-cv-02691-KAM-VMS Document 10 Filed 08/17/21 Page 1 of 2 PageID #: 54



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

MAGNET RX LLC, a New York limited               )
liability company, d/b/a DRUG RITE              )
PHARMACY, individually and as the               )
representative of a class of similarly-         )
situated persons,                               )
                                                )   Civil Action No.: 1:21-cv-02691-KAM-VMS
                        Plaintiff,              )
                                                )
                 v.                             )
                                                )
ASHGROVE MARKETING AGENCY,                      )
LLC, a Michigan limited liability company,      )
                                                )
                        Defendant.              )

                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(i), Plaintiff, MAGNET RX LLC d/b/a DRUG

RITE PHARMACY, through its undersigned attorneys, hereby dismisses this action with

prejudice as to Plaintiff’s individual claims, class allegations without prejudice, each side to bear

its own costs.

                                                    Respectfully submitted,

                                                    MAGNET RX, LLC d/b/a DRUG RITE
                                                    PHARMACY

                                                    By: s/ Ryan M. Kelly
                                                    Ryan M. Kelly
                                                    ANDERSON + WANCA
                                                    3701 Algonquin Rd., Ste. 500
                                                    Rolling Meadows. IL 60008
                                                    Tele: 847-368-1500 / Fax: 847-368-1501
                                                    rkelly@andersonwanca.com

                                                    Jonathan Shalom
                                                    SHALOM LAW, PLLC
                                                    105-13 Metropolitan Avenue
                                                    Forest Hills, New York 11375
                                                    Tele: 718-971-9474
                                                    Jonathan@Shalomlawny.com
Case 1:21-cv-02691-KAM-VMS Document 10 Filed 08/17/21 Page 2 of 2 PageID #: 55




                                  CERTIFICATE OF SERVICE


       I hereby certify that on August 17, 2021, I electronically filed the foregoing Notice of

Voluntary Dismissal with the Clerk of the Court using the CM/ECF system which will send

notification of such filings to all counsel of record.



                                                         /s/Ryan M. Kelly




                                                   2
